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                        Exhibit C

     McCarran Statue Removal
             Letter
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                                          June 19, 2020

The Honorable Steve Sisolak                          Speaker Jason Frierson
Governor of Nevada                                   Nevada Assembly
101 N. Carson Street                                 401 South Carson Street
Carson City, NV 89701                                Carson City, NV 89701

Majority Leader Nicole Cannizzaro
Nevada Senate
401 South Carson Street
Carson City, NV 89701

Dear Governor Sisolak, Speaker Frierson, and Majority Leader Cannizzaro:

As members of the United States Congress from Nevada, we write to you today to request that
you replace the Patrick Anthony McCarran statue in the National Statuary Hall Collection with a
statue of a different individual from the State of Nevada who better represents our state’s values.
While Senator McCarran fought for workers’ rights and sponsored legislation that helped shape
the modern air travel industry, his dark legacy of virulent racism, anti-Semitism, and xenophobia
have no place representing Nevada, especially in the United States Capitol. While it is a matter
for local government, we likewise strongly support local efforts to rename McCarran
International Airport so that the gateway to Southern Nevada honors someone who truly
represents its mission to welcome visitors from all backgrounds to our state.

The State of Nevada gave the statue of Senator McCarran to Statuary Hall in 1960. With millions
of people visiting the U.S. Capitol from around the globe each year, the McCarran statue is the
face and name of Nevada not only to many of our fellow Americans, but to visitors from around
the world. As one of the most diverse states in the nation, Nevada should not be represented by
someone who perpetuated the very hate and bigotry we are seeking to dismantle today.

Pat McCarran’s advocacy for racist and xenophobic policies are well-documented. As Senator,
McCarran sought to exploit the rhetoric and fear of the McCarthy era by restricting immigration,
including Jewish immigration after the Holocaust; helped pass the McCarran Internal Security
Act, which tightened deportation laws and allowed for the exclusion of organizations, revocation
of citizenship, and limitation of free speech; and attempted to block President Franklin D.
Roosevelt’s Jewish judicial nominees. Referring to Jewish refugees in a conversation with his
assistant, McCarran stated: “Eighty-seven percent are of one blood, one race, one religion. You
know what that is without my telling you.” In defending his draconian and racist immigration
policies, McCarran declared: “If this oasis of the world should be overrun, perverted,
contaminated, or destroyed, then the last flickering light of humanity will be extinguished.”

Our state’s statues in the United States Capitol should embody Nevada’s values as a
compassionate, diverse, and welcoming state. A monument to a man who advocated bigotry is an
affront to those ideals. As our country grapples with its history of systemic racism and at a time
of rising anti-Semitism in the United States and around the world, removing the McCarran statue
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from the National Statuary Hall Collection would demonstrate to the nation that Nevada does not
tolerate hate or bigotry. It is far overdue to retire the McCarran statue and choose a better suited
individual to represent us in our nation’s capital.

As you know, in order to replace a statue in the National Statuary Hall Collection, the State
Legislature must enact a resolution identifying the statue to be replaced, name the replacement
for the statue and outline the individual’s qualifications, establish a committee or commission to
select the sculptor, and direct the method of obtaining the necessary funds to carry the resolution
in effect. The Governor must then submit a written request to the United States Architect of the
Capitol with a description of where the replaced statue will be displayed after it is transferred.
The request is then forwarded to the Joint Committee on the Library for final approval.

As such, we respectfully request that consideration of the necessary resolution to replace the
McCarran statue be put on the agenda for the upcoming special legislative sessions so the
process can begin promptly. With the nation joining together to combat systemic racism, now is
the time to act.

Thank you for your immediate attention to this request.

Sincerely,



____________________________                  ____________________________
JACKY ROSEN                                   STEVEN HORSFORD
United States Senator                         United States Member of Congress




____________________________                  ____________________________
CATHERINE CORTEZ MASTO                        DINA TITUS
United States Senator                         United States Member of Congress




____________________________
SUSIE LEE
United States Member of Congress


Cc:
Brett Blanton, Architect of the Capitol
Senator Roy Blunt, Chairman, United States Congress Joint Committee on the Library
